      Case: 3:20-cv-00617-wmc Document #: 16 Filed: 10/05/20 Page 1 of 2




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

DEBORAH LAUFER,
Plaintiff,

 v.                                           Case No. 3:20-cv-617

LILY POND LLC C SERIES,
Defendant



                       MOTION FOR CLARIFICATION

       Comes now, counsel for Plaintiff seeking clarification of this Court’s order
dated October 5, 2020 with docket text reading “Show cause why plaintiff's
complaint should not be dismissed for lack of standing”. Because this order did not
contain any attachments or further instructions, it is unclear what, if anything, is
expected from Plaintiff’s counsel. It should also be noted that on September 11,
2020, Plaintiff’s counsel thoroughly briefed the basis for Plaintiff’s standing in
their response to this Court’s September 3, 2020 Order requesting same.
Accordingly, Plaintiff’s counsel respectfully requests further instructions regarding
this Court’s October 5, 2020 order.
DATED: October 5, 2020

      Respectfully submitted,

/s/ Tristan W. Gillespie

Tristan W. Gillespie, Esq.
THOMAS B. BACON, P.A.
5150 Cottage Farm Rd.
Johns Creek, GA 30022

Attorneys for Plaintiff




                                          1
Case: 3:20-cv-00617-wmc Document #: 16 Filed: 10/05/20 Page 2 of 2




                                2
